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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY




UNITED STATES OF AMERICA
                                                            MAGISTRATE NO. 16mj8049-5


     V.
                                                                    ORDER

JUSTIN LOVE




       The financial inability of the defendant to retain counsel having been established by the Court,

and the defendant not having waived the appointment of counsel,

              It is on this    1      day of       June    ,2016,

      ORDERED that                 CANDACE HOM                  from the Office of the Federal Public
                                                                                         ,tt rp4(
Defender for the District ofNew Jersey is hereby appointed to represent said defendant ka€-4

 rthrjfthi Court.




                                                    Steven C.
                                                    United States Magistrate Judge
